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EXHIBIT B
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UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF NEW JERSEY

IN RE NEURONTIN
ANTITRUST LITIGATION

OWENS V. PFIZER INC.

TRUJILLIO V. PFIZER INC.

SMITHFIELD FOODS, INC. V. PFIZER INC.

SALOWE-KAYE, ET AL. V. PFIZER INC.

LOUISIANA DRUG COMPANY, INC. V.
PFIZER INC.

MEIJER V. PFIZER INC. *

ZAFARANA V. PFIZER INC.*

COLLINS V. PFIZER, INC,*

SALL, ET AL. V. PFIZER INC.

GREAT LAKES HEALTH PLAN V. PFIZER
INC.

MELTZER V. PFIZER INC.

HEALTH & BENEFIT TRUST FUND OF
THE INTERNATIONAL UNION OF
OPERATING ENGINEERS LOCAL UNION
94, 944, 94B V. PFIZER INC.

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MDL Docket No. 1479

Civil Action No. 02-1390(JCL)
Civil Action No. 02-1391(JCL)
Civil Action No. 02-1397(JCL)
Civil Action-No. 02-1527(JCL)

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Civil Action No, 02-3990(JCL)

Civil Action No. 02-3991(JCL)

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D’ ANGELO V, PFIZER INC. Civil Action No, 02-3993(ICL)

ACTION ALLIANCE OF SENIOR Civil Action No. 02-3994(JCL)
CITIZENS OF GREATER PHILADELPHIA

V. PFIZER INC.

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HEALTH & WELFARE FUND V. PFIZER
INC.

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WILSON V. PFIZER INC,
Civil Action No. 02-3998(JCL)

SOEURT V. PFIZER INC. Civil Action No. 02-3999(JCL)

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*Retared actions pending in this District that have been identified to the Judicial Pancl on Multidistrict Litigation (“MDL Pone!")
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MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO STAY THE
NEURONTIN® ANTITRUST ACTIONS PENDING RESOLUTION OF THE
UNDERLYING PATENT INFRINGEMENT LITIGATIONS

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Defendants Pfizer Inc. (“Pfizer”) and Warner-Lambert Company (‘“Wamer-
Lambert”) (collectively, “Defendants”) submit this memorandum of law in support of their
motion for a stay of all proceedings in the actions that are pending before this Court pursuant to

the Order of the Judicial Panel on Multidistrict Litigation (the “MDL Panel”) in In re Neurontin

Antitrust Litig., MDL Docket No. 1479, F. Supp.2d_, 2002 WL 1905938 (J.P.MLL. Ang. 15,
2002), transferring certain actions here for coordinated or consolidated pretrial proceedings,
together with the related actions already pending before the Court (collectively, the “Antitrust
Litigation”). Defendants seek a stay pending resolution by this Court of the closely related
gabapentin patent infringement claims (the “Patent Litigations”) upon which the Antitrust

Litigation is based.

Preliminary Statement

In the Patent Litigations currently pending before the Court, listed in Schedule A
to Defendants’ Notice of Motion, Pfizer and Warmer-Lambert assert that certain generic
manufacturers have submitted Abbreviated New Drug Applications (“ANDAs”) for genetic
gabapentin products which infringe their patents. Two of the defendants in those Patent
Litigations have asserted counterclaims alleging that the patent claims are sham litigation in
violation of federal antitrust laws. These counterclaims have been bifurcated and stayed by the
Court based on the pending Patent Litigations.

Recently, a number of consumers, insurers and other plaintiffs have filed antitrust
‘actions in various state and federal courts which largely track the counterclaims in the Patent
Litigations and allege that the Patent Litigations are shams. All of these actions, which comprise
the Antitrust Litigation (and are listed in Schedule B attached to Defendants’ Notice), are either
already pending before the Court, or were transferred to it pursuant to a recent Order of the MDL

Panel.

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Defendants now seek a stay of the Antitrust Litigation similar to the stay already
in place with respect to the nearly identical antitrast counterclaims in the Patent Litigations. A
stay pending resolution of the Patent Litigations is appropriate because resolution of those
actions may also dispose of the claims-in the Antitrust Litigation and in any event will shed light
on certain of the key issues in the latter Litigation. Awaiting the outcome of the Patent
Litigations before proceeding with the Antitrust Litigation will also conserve judicial resources

and prevent unnecessary discovery and motion practice.
Background

A, The Patent Infringement Litigations Pending In This Court

As this Court is aware, gabapentin is the generic name for a dmg product that is

approved by the FDA for the treatment of epilepsy and is also widely used to treat pain and

neurodegenerative diseases such as Alzheimer’s Disease. (See Cmplt. in Owens v. Pfizer Inc,

and Warer-Lambert Co., Civ, A. No. 02CV1390, at ff 34, 36.)' Warner-Lambert, which was

acquired by Pfizer in June 2000, manufactures and markets gabapentin under the brand name
Neurontin®. (id. {ff 15, 35.)

Under the Hatch-Waxman Amendments to the Federal Food, Drug and Cosmetics
Act, a company seeking to market a generic version of an approved pioneer drug may submit to
the FDA an ANDA which, among other things, must demonstrate “bioequivalen[cy]” to the
FDA-approved pioneer dmg, 2] U.S.C, § 355(j)(2)(A)(iv). Pursuant to the statute and its

‘regulations, the FDA lists patents that may apply to the pioneer drug or its methods of use in its

All citations to complaint paragraph numbers in this memorandum are to the complaint in
Owens (the first-filed action in this District), hereafter referred to as “Cmplt.” The
various complaints in the Antitrust Litigation contain substantially the same allegations.

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“Orange Book.” If an ANDA applicant wishes to market a generic product prior to the
expiration of an associated patent listed in the Orange Book; it must certify to the FDA, pursuant
to 21 U.S.C. § 355(§)(2)(A)(vii)(IV) (a “paragraph IV certification”), that the pioneer’s patent is
invalid or will not be infringed by the marketing of its product. If a paragraph IV certification is
filed, and the patentee sues the ANDA applicant for patent infringement within 45 days, the FDA
may not give final approval to market the generic product until the patent case is resolved, or
until 30 months have elapsed, whichever occurs first (the “30 month stay”). See Mova Pharm.
Com. v, Shalala, 140 F.3d 1060, 1064 (D.C. Cir. 1998) (explaining 21 U.S.C.

§ 355(9){5)(B)(ii)). In the interim, the FDA will grant only tentative approval to an ANDA that

has satisfied all non-patent regulatory requirements. 21 C.F.R. § 3 14.107(b)(3)(v).

As this Court is also aware, Defendants hold three patents currently in force that
cover forms of gabapentin and the use of gabapentin in treating neurodegenerative diseases.
USS. Patent No. 4,894,476 (the “476 patent”), which issued in January 1990, claims a
monohydrate form of gabapentin; U.S, Patent No. 6,054,482 (the “*482 patent”), which issued in
April 2000, claims a low lactam form of gabapentin; and U.S. Patent No. 5,084,479 (the “479. .
patent”), which issued in January 1992, claims the use of gabapentin to treat neurodegenerative. .
diseases. (Cmplt. {{] 45-47.) Each of these patents was listed by Warner-Lambert (prior to its
acquisition by Pfizer) in association with gabapentin in the FDA’s Orange Book.

A number of generic drug manufacturers ~ including Apotex Corp., Purepac
-Pharmaceutical Co., Teva Pharmaceuticals USA, Zenith Goldline Pharmaceuticals, Inc. and Eon

Labs Manufacturing, Inc. — filed applications seeking FDA approval to market gabapentin asa

2 The formal name of the FDA’s Orange Book is “Approved Drug Products with
Therapeutic Equivalence Evaluations,”

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generic notwithstanding Defendants’ patents. (Cmplt. fff 49-50, 69-70, 88.) Defendants sued
Apotex and Purepac for infringement of the ‘476 and ‘479 patents and have sued five of the
generics, including Apotex and Purepac, for infringement of the “482 patent.’ (Cmoplt. {f] 52, 66,
72, 78, 84, 89-91.) All of these actions constitute the Patent Litigations. The MDL Panel
centralized all of the actions alleging infringement of Defendants’ ‘482 patent in-this Court by.
transferring the cases not already before it under MDL Docket No. 1384. In re Gabapentin
Patent Litig., 2001 U.S. Dist. LEXIS 1726 (J.P.MLL. Feb. 5, 2001). The Gabapentin patent
actions alleging infringement of the ‘476 and ‘479 patents against Purepac were already pending
before the Court.’ Thus, all of the pending Patent Litigations are now in this District before
Judge Lifland. Purepac has moved the Court for summary judgment of noninfringement on the

‘476, ‘479 and ‘482 patents, while Apotex has moved the Court for summary judgment on the

‘482 patent. These motions are pending.

In the Patent Litigations, Apotex and Purepac have asserted antitrust
counterclaims alleging that Wamer-Lambert’s listing of the patents in association with
gabapentin in the FDA Orange Book was improper, and that Defendants’ bringing of
infringement actions against ANDA applicants constituted sham litigation, all in violation of the
Sherman Act. (E.g., Cmplt. {] 55-58, 67, 85.) In essence, the counterclaims allege that

Defendants had no objectively reasonable basis for expecting their patent infringement claims to

3 Some of the infringement suits were brought by Warner-Lambert before Pfizer acquired
it. Both Warner-Lambert and Pfizer are named as plaintiffs in the actions brought
subsequent to the acquisition.

4 The action against Apotex on the ‘476 and ‘479 patents was brought in the Northern
District of Ulinois, which granted Apotex’ motions for summary judgment. The decision
granting summary judgment to Apotex on the ‘479 patent is on appeal to the United
States Court of Appeals for the Federal Circuit (“CAFC”).

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‘succeed and brought the actions only for the purpose of delaying generic competition. The
counterclaims seek damages under the federal antitrust laws: (See ic.)
On December 22, 2000, this Court demied Defendants’ motion to dismiss
Purepac’s antitrust counterclaims relating to the ‘476 and ‘479 patents, but granted Defendants’
motion to bifurcate the counterclaims. The Court ordered bifurcation of the antitrust
counterclaims because “the outcome of [the patent infringement trial] may either support or
eliminate Purepac’s claim that Wamer-Lambert filed an objectively baseless suit.”
Subsequently, by order of Magistrate Judge Chesler dated April 24, 2001, “[a]l] antitrust and

unfair competition counterclaims” were “bifurcated from MDL No. 1384 for purposes of

discovery and trial, and stayed, pending further Court action.”

B. The Antitrust Litigation.

Since March 7, 2002, twenty-one actions have been filed in seven different
federal district courts, all asserting overlapping claims against Defendants predicated on the
Defendants’ conduct in listing its patents in the Orange Book, and in bringing and maintaining
the Patent Litigations. The complaints in large part track the antitrust counterclaims asserted by
the generic company defendants in the Patent Litigations. Thus, many of the Plaintiffs allege
that Defendants’ listings of the ‘476, ‘479 and ‘482 patents in the Orange Book were improper,

and all allege that the infringement suits against the generics were sham. (E.g., Cmplt. { 4.)

° See Opinion, entered December 22, 2000 in Civ. A. No. 98-02749 (JCL), 99-05948
, (JCL), and 00-02053 (JCL) (‘12/22/00 Opinion”), at 21 (bifurcating Purepac’s antitrust
claims relating to the ‘476 and ‘479 patents).

6 See Pretrial Order No. 1, entered April. 26, 2001 in MDL No. 1384 and Civ. A. Nos. 00-
CV-2931, 00-CV-3522, 00-CV-4168, 00-CV-4589, 00-CV-6073, 01-CV-0193 and 01-
CV-0611 (“4/26/01 Pretrial Order”), at  F (bifurcating and staying “antitrust and unfair
competition counterclaims”).

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Plaintiffs allege that they were forced to pay higher prices for gabapentin than they otherwise
would have if FDA approval of generic gabapentin had not been delayed by the 30 month stays
resulting from the Patent Litigations. (E.g., Cmplt. f'] 52, 95-100.)

The named plaintiffs in the Antitrust Litigation include consumers, health
insurers, activist organizations, a drug wholesaler, and a meat processing company. Plaintiffs by
and large seek to represent nationwide classes of Neurontin® purchasers, as well as subclasses of
persons who purchased Neurontin® in certain states that allegedly permit antitrust or consumer
fraud claims by indirect purchasers, They demand injunctive relief under the federal antitrust
laws, damages and injunctive relief under various state antitrust and consumer protection laws,
and disgorgement of Defendants’ alleged “wnjust enrichment” as a result of the alleged delay in
the entry of generic gabapentin.

On August 15, 2002, the MDL Panel granted Defendants’ motion to transfer the
cases in the Antitrust Litigation which were pending outside the District of New Jersey to this
Court, pursuant to 28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings with

the five actions that are already pending here.’ In re Neurontin Antitrust Litig., MDL Docket

; A complete list of the actions including the Antitrust Litigation is attached as Schedule B
to the Notice of Motion, Two of the listed actions, Sall v. Pfizer Inc. and Wamer-
Lambert Co., Civ. A. No. 02CV3988 (JCL), and Zafarana v. Pfizer Inc. and Warner-
Lambert Co., Civ. A. No. 02CV2741 (JCL), were originally filed in California and New
Jersey state courts, respectively, but were removed by Defendants to federal court and
have now been transferred to this District, Four related actions were not included in the
Transfer Order issued by the MDL Panel on August 15, 2002: Zafarana, Stuart v. Pfizer
Inc. and Warner-Lambert Co., Civ. A. No. 02-2511 (W.D. Tenn.), Collins y. Pfizer Inc,
and Warner-Lambert Co., 02CV3514 (ICL) and Meijer, Inc. v. Pfizer Inc. and Wamer-
Lambert Co., 02CV2731 (ICL). Three of these actions are already pending before this
Court (Zafarana, Collins and Meijer). Stuart was removed from state court in Tennessee
to federal court and was reported to the MDL Panel as a related action. We expect that
the MDL Panel will transfer Stuart to this Court in the next few weeks.

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No. 1479, _F. Supp.2d_, 2002 WL 1905938 (J.P.M.L. Aug, 15, 2002). Thus, now pending
before the Court are the Patent Litigations, including the bifurcated and stayed antitrust

counterclaims, and the closely related actions which constitute the Antitrust Litigation.

Argument

I. THE COURT SHOULD STAY THE ANTITRUST LITIGATION PENDING THE
OUTCOME OF THE PATENT LITIGATIONS.

Defendants seek a stay of the actions that comprise the Antitrust Litiganon,
pending resolution of the Patent Litigations on which the Antitrust Litigation is based.

The Third Circuit has held that, “TiJn the exercise of its sound discretion, a court
may hold one lawsuit in abeyance to abide the outcome of another which may substantially
affect it or be dispositive of the issues.” Bechtel Corp. v. Local 215, Laborers’ Int'l Union of N.

Am., 544 F.2d 1207, 1215 (3rd Cir. 1976); see also Landis v. North American Co., 299 U.S. 248,

254 (1936) (Cardozo, J.) (“the power to stay proceedings is incidental to the power inherent in
every court to control the disposition of the causes on its docket with economy of time and effort
for itself, for counsel and for litigants”). In Landis the Supreme Court reversed a Court of
Appeals decision that the district court lacked the power to grant a stay in several actions,
pending the decision in a test case going forward in another court. 299 U.S. at 256-57. The
Court held that the district court had the power to “coordinate the business of the court efficiently
and sensibly,” and could grant a stay because even if the decision in the test case “{might] not
settle every question..., m all likelihood it will settle many and simplify them all.” Id. at 255-

56.

Here, the key allegation in the complaints in the Antitrust Litigation is that the
patent infringement actions brought by Defendants against the generics under the gabapentin

patents were sham. To sustain this allegation, Plaintiffs will need to prove that the infringement

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actions already pending before this Court are “objectively baseless” im the sense that “no
reasonable litigant could realistically expect success on the merits.” Professional Real Estate

Investors, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 60 (1993). Hence, the merit of

Pfizer’s and Warner-Lambert's claims in the Patent Litigations are also central to the actions
comprising the Antitrust Litigation. If Defendants win their patent infringement cases, they
indisputably were not sham. See id. at 60 n.5 (“A winning lawsuit is by definition a reasonable

effort at petitioning for redress and therefore not a sham.”); Levine v. McLeskey, 881 F. Supp.

1030, 1042-44 (E.D, Va, 1995) (litigation not sham given success at trial level even though

reversed on appeal), aff'd in relevant part and vacated in nonrelevant part, 164 F.3d 210 (4th Cir.

1998).

Even if Defendants were to lose their patent infringement cases, the record in
those cases would be highly relevant to determining whether the actions were objectively
baseless.* For example, in Twin City Bakery Workers & Welfare Fund v. Astra Aktiebolag, 207
F, Supp. 2d 221, 224 (S.D.N.Y. 2002), the defendant had asserted six patents against potential
generic competitors, In dismissing antitrust claims later brought against the defendant alleging
sham litigation, the court held that, even though several of the patents were declared invalid, the
fact that “claims of infringement of four of the six asserted patents [were allowed] to proceed
beyond summary judgment, and two of the four [were allowed] to proceed through trial, preclude
any contention” that the litigation was sham. 1Id.; sec also TRW Fin. Sys.. Inc. y. Unisys Corp.,

- 835 F, Supp. 994, 1014 (E.D. Mich. 1993) (defendant could not show patent infringement suit

Needless to say, the mere fact that, after discovery, an accused infringer prevails on the
merits is not an indication that the litigation lacked a reasonable basis. See Prof] Real
Estate Investors, 508 U.S. at 60 n.5; C.R. Bard, Inc. v. M3 Sys., Inc., 157 F. 3d 1340,

1369 (Fed. Cir, 1998).

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was sham because of fact specific nature of issues in suit and because record indicated that
plaintiff's chance of winning infringement claim was “not frivolous[}”).

In similar circumstances, courts in the Third Circuit, including this Court, have
consistently acted to promote judicial economy and efficiency by staying one proceeding
pending the outcome of another. For example, in Elsag Bailey (Canada) Inc. v. Trojan Techs.,
Inc,, 1996 WL 571156, at *1 (E.D. Pa. Oct. 3, 1996), the plaintiff asserted antitrust and unfair
competition claims based in part on allegations that patent litigation instituted by the defendant
on a Canadian patent was a “sham.” The court stayed the sham litigation claims pending the
resolution of the underlying patent litigation. The court held that its consideration of those
claims “[would] be greatly aided and may be disposed of by the resolution” of the litigation on
the Canadian patent. Id. The court found that the stay was necessary because “[a]ny other result
could surely result in incomplete proceedings, a waste of judicial economy and potentially
inconsistent results.” Id.; accord Bechtel Corp., 544 F.2d at 1215 (3d Cir.) (affirmed grant of
stay pending arbitration where, if the plaintiff prevailed on the claims being arbitrated and was :
awarded damages, its other claims could be dismissed as moot); Cent. Jersey Freightliner, Inc. vy.
Freightliner Corp., 987 F. Supp. 289, 300 (D.N.J. 1997) (Lifland, J.) (“Given the factual
intertwining of plaintiff’s arbitrable and non-arbitrable claims, the Court, in its discretion, will

stay litigation of the non-arbitrable claims pending arbitration.”); Regions Bank v. Wieder &

Mastroianni, P.C., 170 F. Supp. 2d 436, 440 (S.D.N.Y. 2001) (staying action pending outcome of
- action in Georgia because “{i]f Regions succeeds against [defendant] in the Georgia action, a

decision in this Court will be rendered unnecessary”); NFL. Props.. Inc. v. Hi-Pro Mkte.., Inc.,

1992 WL 204370, at *3 (S.D.N.Y. Aug. 11, 1992) (ordering action stayed where “(t]he outcome

of [another] litigation may relieve this Court from having to try the instant action at all”; stay

was appropriate because it would “preserve judicial resources and avoid duplicative litigation”).

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This Court has already recognized the advantages of staying claims similar to
those in the Antitrust Litigation until the Patent Litigations are resolved. The claims in the
Antitrust Litigation parallel the antitrust counterclaims asserted against Defendants by two of the
generic companies in the Patent Litigations. The Court bifurcated the antitrust counterclaims
relating to the ‘476 and ‘479 patents because “the outcome of [the patent infringement trial] may
either support or eliminate” those counterclaims. 12/22/00 Opinion, at 21; see 4/26/01 Pretrial
Order, at 9 F (bifurcating and staying antitrust counterclaims in MDL 1384). The Court’s
reasoning in the Patent Litigations also applies to the Antitrust Litigation: Resolution of the
patent infringement claims may “support or eliminate” the antitrust plaintiffs’ claims.

Granting the stay requested by the Defendants will provide other benefits as well.
If and when there is reason for discovery regarding the antitrust counterclaims asserted in the
Patent Litigations, that discovery would largely overlap with the discovery that would be : 2

conducted relating to the claims in the Antitrust Litigation. There is no reason for Defendants

here to provide the same discovery twice. In Kappel v. Comfort, 914 F. Supp. 1056, 1058

(S.D.N.Y. 1996), for example, the court found the likelihood of duplicative discovery important
in deciding to grant a stay. The Kappel court stayed the litigation before it, pending the
resolution of related claims in another court, even though those related claims were also stayed,
It determined that the defendants “would be considerably burdened” by being required to engage
in discovery and motion practice in the litigation before the court, “knowing that they might well
have to provide discovery” in connection with the related claims once the stay was lifted. In

addition, the Court will avoid the necessity of dealing with discovery disputes that may be
rendered unnecessary by the resolution of the Patent Litigations.

Here, as in Elsag and the other cases discussed above, granting a stay of the

Antitrust Litigation until the underlying Patent Litigations are resolved will promote judicial

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economy and efficiency, and will prevent duplicative and possibly unnecessary discovery and

motion practice.

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Conclusion

For all the foregoing reasons, Defendants respectfully request that the Court stay
all of the purported class actions in the Antitrust Litigation pending its resolution of the

underlying gabapentin patent infringement litigations.

Dated: August 27, 2002
Respectfully submitted,

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SCHEDULE A’ -

1. In re Gabapentin Patent Litigation
MDL Docket No. 1384

2. Wamer-Lambert Company v. Purepac Pharmaceutical Co.and Faulding, Inc.
Civil Action No. 00-2931(JCL) (Gabapentin)

3. Pfizer, Inc. _v.Purepac Pharmaceutical Co. & Faulding Inc.
Civil Action No. 00-3522(JCL) (Gabapentin)

4. Wamer-Lambert Co. _v. Apotex Corp.. et al.
Civil Action No. 01-611(0/CL)

5. Warner-Lambert Company v. Purepac Pharmaceutical Co_ and Faulding, Inc.
Civil Action No. 98-2749(JCL)

6. Warner-Lambert Company v. Purepac Pharmaceutical Co_and Faulding, Inc.
Civil Action No. 99-5948(JCL)

7. Wamer-Lambert Company, Pfizer_v. Teva Pharmaceutical Co,
Civil Action No. 00-4168(JCL) (Gabapentin)

3, Wamer-Lambert Company, Pfizer_v. Teva Pharmaceutical Co.
Civil Action No. 00-4589(JCL) (Gabapentin)

9. Wamer-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No, 00-6073(JCL) (Gabapentin)

10.  Warner-Lambert Company, Pfizer _v. Zenith Goldline Laboratories
Civil Action No. 01-0193(JCL) (Gabapentin)

11.  Warner-Lambert Company, Pfizer _v. Zenith Goldline Laboratories
Civil Action No. 01-1577(JCL)

12.  Warner-Lambert Company, Pfizer _v. Zenith Goldline Laboratories
Civil Action No. 01-1538(3CL)

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SCHEDULE B

Listed below are all of the related actions in the Neurontin® antitrust actions that
are pending before this Court. They include the actions that were transferred here pursuant to the
Order, dated August 15, 2002, of the Judicial Panel on Multidistrict Litigation in In re Neurontin
Antitrust Litigation, MDL Docket No. 1479, 2002 WL 1905938, (J.P.M.L. Aug. 15, 2002), as
well as the related actions that were already pending before this Court.

1. Owens v. Pfizer, Inc. and Warner-Lambert Co.,

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Civil Action No. 02-1390 (JCL)

2. Trujillo v. Pfizer, Inc, and Warner-Lambert Co.,
Civil Action No. 02-1391 (JCL)

3. Smithfield Foods, Inc, v. Pfizer Inc. and Wamer-Lambert Co.,
Civil Action No. 02-1397 (ICL)

4, Salowe-Kaye v. Pfizer Inc, and Warner-Lambert Co.,
Civil Action No, 02-1527 GCL)

5. Louisiana Wholesale Dmg Company, Inc. v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-1830 (ICL)

6. Meijer, Inc. v. Pfizer Inc. and Wamer-Lambert Co.,
Civil Action No. 02-2731 (JCL)

7. Zafarana v. Pfizer Inc. and Wamer-Lambert Co.,
Civil Action No. 02-2741 (ICL)

8. Collins v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No, 02-3514 (ICL)

9, Sall v. Pfizer Inc. and Wamer-Lambert Co.,
Civil Action No. 02-3988 (JCL)

10. Great Lakes Health Plan, Inc. v. Pfizer, Inc. and Warner-Lambert Co.,
Civil Action No, 02-3989 (JCL)

ll. Meltzer v. Pfizer, Inc. and Wamer-Lambert Co.,

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Civil Action No. 02-3990 (ICL)

12. Health and Benefit Trust Fund of the International Union of Operating Engineers Local
Union 94, 94A, 94B v. Pfizer Inc. and Wamer-Lambert Co.,

Civil Action No. 02-3991 (JCL)

13. Jaffe v. Pfizer, Inc. and Warner-Lambert Co.,

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Civil Action No. 02-3992 (ICL)

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D’ Angelo v. Pfizer, Inc. «and Warer-Lambert Co.,
Civil Action No. 02-3993 (ICL)

Action Alliance of Senior Citizens of Greater Philadelphia vy. Pfizer Inc. and Warner-
Lambert Co.,
Civil Action No. 02-3994 (ICL)

Vista HealthPlan, Inc. v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3995 (ICL)

United Food and Commercial Workers Local 56 Health & Welfare Fund v. Pfizer Inc.

and Warner-I_ambert Co.,
Civil Action No. 02-3996 (ICL)

Painters District Council No. 30 Health and Welfare Fund v. Pfizer Inc. and Warner-
Lambert Co., -
Civil Action No. 02-3997 (ICL)

Wilson v. Pfizer, Inc. and Warmer-Lambert Co.,
Civil Action No, 02-3998 (JCL)

Socurt v. Pfizer, Inc. and Warner-Lambert Co.,

Civil Action No. 02-3999 (ICL)

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